Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34         Desc:
                           Exhibit A Page 1 of 27



                                    EXHIBIT A

    Schedule of Claims Subject to the Three Hundred Forty-First Omnibus Objection
                                  Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 2 of 27

                                                              Three Hundred and Forty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Disallowed
                                   CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                              DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
          NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
1 ALVAREZ CARRASQUI,          05/24/18   17 BK 03566-LTS /            43815             Undetermined* ALVAREZ                      05/24/18    17 BK 03283-LTS /           37335             Undetermined*
  MIGUEL A                               Employees Retirement                                         CARRASQUILLO,                            Commonwealth of Puerto
  HC 01 BOX 11714                        System of the Government                                     MIGUEL A.                                Rico
  CAROLINA, PR 00987                     of the Commonwealth of                                       HC 01 BOX 11714
                                         Puerto Rico                                                  CAROLINA, PR 09987

  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
2 BARRETO REYES, ANA          06/18/18   17 BK 03566-LTS /            62005              $ 150,000.00* BARRETO REYES, ANA          06/18/18    17 BK 03283-LTS /           62162              $ 150,000.00*
  M.                                     Employees Retirement                                          M.                                      Commonwealth of Puerto
  HC 2 BOX 16588                         System of the Government                                      HC 2 BOX 16588                          Rico
  ARECIBO, PR 00612                      of the Commonwealth of                                        ARECIBO, PR 00612
                                         Puerto Rico
  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
3 BENITEZ DELGADO,            05/21/18   17 BK 03566-LTS /            42868             Undetermined* BENITZ DELGADO, ANA          05/21/18    17 BK 03283-LTS /           35029             Undetermined*
  ANA CELIA                              Employees Retirement                                         CELIA                                    Commonwealth of Puerto
  URB VILLA FONTANA                      System of the Government                                     QUINTA DE COUNTRY                        Rico
  GL-8 VIA 25                            of the Commonwealth of                                       CLUB CALLE C
  CAROLINA, PR 00983                     Puerto Rico                                                  CAROLINA, PR 00982

  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
4 BERRIOS TORRES,             06/29/18   17 BK 03566-LTS /           133067             Undetermined* BERRIOS TORRES,              06/29/18    17 BK 03283-LTS /          142568             Undetermined*
  EVETTE                                 Employees Retirement                                         EVETTE                                   Commonwealth of Puerto
  D-21 C/6 RITA                          System of the Government                                     D-21 CALLE RITA                          Rico
  SANTA ROSA                             of the Commonwealth of                                       SANTA ROSA
  CAGUAS, PR 00725                       Puerto Rico                                                  CAGUAS, PR 00725

  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
5 BERRIOS VAZQUEZ,            05/24/18   17 BK 03566-LTS /            20000             Undetermined* BERRIOS VAZQUEZ,             05/24/18    17 BK 03283-LTS /           20086             Undetermined*
  IVETTE                                 Employees Retirement                                         IVETTE                                   Commonwealth of Puerto
  PO BOX 1539                            System of the Government                                     PO BOX 1539                              Rico
  COROZAL, PR 00783-1539                 of the Commonwealth of                                       COROZAL, PR 00783-1539
                                         Puerto Rico
  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 1 of 26
                                  Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 3 of 27

                                                              Three Hundred and Forty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Disallowed
                                   CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                              DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
          NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
6 BLASINI GALARZA,            06/28/18   17 BK 03566-LTS /           151099             Undetermined* BLASINI GALARZA,             06/28/18    17 BK 03283-LTS /          151769             Undetermined*
  ENID D.                                Employees Retirement                                         ENID D                                   Commonwealth of Puerto
  URB SANTA ELENA 2                      System of the Government                                     URB SANTA ELENA 2                        Rico
  A15 CALLE ORQUIDEA                     of the Commonwealth of                                       A15 CALLE ORQUIDEA
  GUAYANILLA, PR 00656-                  Puerto Rico                                                  GUAYANILLA, PR 00656-
  1449                                                                                                1449

  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
7 CABEZOTO PEREZ,             05/03/18   17 BK 03566-LTS /            12035               $ 13,049.50* CABEZUDO PEREZ,             05/03/18    17 BK 03283-LTS /           11829               $ 13,049.50*
  IVONNE                                 Employees Retirement                                          IVONNE                                  Commonwealth of Puerto
  HC-02 BOX 12180                        System of the Government                                      HC-02 BOX 12180                         Rico
  GURABO, PR 00778                       of the Commonwealth of                                        GURABO, PR 00778
                                         Puerto Rico
  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
8 CABRERA TORRES,             05/08/18   17 BK 03566-LTS /            12310                $ 68,000.00 CABRERA TORRES,             05/08/18    17 BK 03283-LTS /          12337^               $ 68,000.00*
  SIGNA                                  Employees Retirement                                          SIGNA MAGALY                            Commonwealth of Puerto
  VILLA PALMERAS                         System of the Government                                      VILLAS PALMERAS                         Rico
  372 CALLE                              of the Commonwealth of                                        372 CALLE
  PROVIDENCIA                            Puerto Rico                                                   PROVIDENCIA
  SAN JUAN, PR 00915-2234                                                                              SAN JUAN, PR 00915-2234

  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
  ^ Claim #12337 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
9 CALDERON ILARRAZA,          05/29/18   17 BK 03566-LTS /            41791               $ 30,735.45* CALDERON ILARRAZA,          05/29/18    17 BK 03283-LTS /          36519^               $ 30,735.45*
  CARMEN                                 Employees Retirement                                          CARMEN                                  Commonwealth of Puerto
  PO BOX 1025                            System of the Government                                      CALLE 12 T-24 VILLAS                    Rico
  RIO GRANDE, PR 00745-                  of the Commonwealth of                                        DE RIO GRANDE
  1025                                   Puerto Rico                                                   RIO GRANDE, PR 00745

  Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
  Commonwealth of Puerto Rico.
  ^ Claim #36519 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 2 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 4 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
10 CARDONA FLORES, ANA         07/05/18   17 BK 03566-LTS /           127976             Undetermined* CARDONA FLORES, ANA          07/05/18    17 BK 03283-LTS /          112036             Undetermined*
   A.                                     Employees Retirement                                         A                                        Commonwealth of Puerto
   URB VENUS GDNS                         System of the Government                                     URB VENUS GDNS                           Rico
   770 CALLE                              of the Commonwealth of                                       770 CALLE
   ANDROMEDA                              Puerto Rico                                                  ANDROMEDA
   SAN JUAN, PR 00926-4907                                                                             SAN JUAN, PR 00926

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
11 CARRASQUILLO                05/21/18   17 BK 03566-LTS /            25738             Undetermined* CARRASQUILLO                 05/21/18    17 BK 03283-LTS /           42756             Undetermined*
   AVILES, IVETTE E                       Employees Retirement                                         AVILES, IVETTE E.                        Commonwealth of Puerto
   HC 1 BOX 11714                         System of the Government                                     HC 1 Box 11714                           Rico
   CAROLINA, PR 00987                     of the Commonwealth of                                       CAROLINA, PR 00987
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
12 CARRASQUILLO                06/06/18   17 BK 03566-LTS /           165850             Undetermined* CARRASGUILLO                 06/06/18    17 BK 03283-LTS /          162309             Undetermined*
   SANTOS, YARITZA                        Employees Retirement                                         SANTOS, YARITZA                          Commonwealth of Puerto
   HC-66 BOX 10200                        System of the Government                                     HC-66 BOX 10200                          Rico
   FAJARDO, PR 00738                      of the Commonwealth of                                       FAJARDO, PR 00738
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
13 COLON DIAZ, CARMEN          06/06/18   17 BK 03566-LTS /            56049             Undetermined* COLON DIAZ, CARMEN           06/06/18    17 BK 03283-LTS /           49295             Undetermined*
   Y.                                     Employees Retirement                                         Y.                                       Commonwealth of Puerto
   URB. VALLE DE                          System of the Government                                     URB VALLE DE                             Rico
   YOBICUO 705 C/JAZMIN                   of the Commonwealth of                                       YABUCOA
   YABUCOA, PR 00767                      Puerto Rico                                                  705 C/ JAZMIN
                                                                                                       YABUCOA, PR 00767

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
14 COLON LUCIANO,              05/23/18   17 BK 03566-LTS /            42287             Undetermined* COLON LUCIANO,               05/23/18    17 BK 03283-LTS /           42145             Undetermined*
   ALICIA                                 Employees Retirement                                         ALICIA                                   Commonwealth of Puerto
   A-13 CALLE NINFA URB.                  System of the Government                                     A-13 CALLE NINFA URB.                    Rico
   BELLA VISTA                            of the Commonwealth of                                       BELLA VISTA
   PONCE, PR 00716                        Puerto Rico                                                  PONCE, PR 00716

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 3 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 5 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
15 COLON TORRES,               06/29/18   17 BK 03566-LTS /           127701               $ 45,760.89* COLON TORRES,               06/29/18    17 BK 03283-LTS /          129809^              $ 45,760.89*
   NEYSHA                                 Employees Retirement                                          NEYSHA                                  Commonwealth of Puerto
   URB EL COMANDANTE                      System of the Government                                      URB EL COMANDANTE                       Rico
   872 CALLE MARIA                        of the Commonwealth of                                        872 CALLE MARIA
   GIUSTI                                 Puerto Rico                                                   GIUSTI
   SAN JUAN, PR 00924                                                                                   SAN JUAN, PR 00924

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #129809 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
16 CORDERO VELEZ,              05/30/18   17 BK 03566-LTS /            40934             Undetermined* CORDERO VELEZ,               05/30/18    17 BK 03283-LTS /          41573^             Undetermined*
   CLARA M.                               Employees Retirement                                         CLARA M                                  Commonwealth of Puerto
   PO BOX 9281                            System of the Government                                     PO BOX 9281                              Rico
   HUMACAO, PR 00792                      of the Commonwealth of                                       HUMACAO, PR 00791
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #41573 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
17 CORTES GARCIA,              05/08/18   17 BK 03566-LTS /            12511               $ 68,745.12* GARCIA, NELIDA              05/08/18    17 BK 03283-LTS /          12503^               $ 68,745.12*
   NELIDA                                 Employees Retirement                                          CORTES                                  Commonwealth of Puerto
   175 CALLE NUEVA                        System of the Government                                      175 CALLE NUEVA COM                     Rico
   COMUNIDAD ISRAEL                       of the Commonwealth of                                        ISRAEL
   SAN JUAN, PR 00917                     Puerto Rico                                                   SAN JUAN, PR 00917

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #12503 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
18 CORTIJO SANCHEZ,            05/25/18   17 BK 03566-LTS /            29821             Undetermined* CORTIJO SANCHEZ,             05/25/18    17 BK 03283-LTS /          43457^             Undetermined*
   EDITH                                  Employees Retirement                                         EDITH                                    Commonwealth of Puerto
   URB COUNTRY CLUB                       System of the Government                                     URB COUNTRY CLUB                         Rico
   QM5 CALLE 246                          of the Commonwealth of                                       QM5 CALLE 246
   CAROLINA, PR 00982-                    Puerto Rico                                                  CAROLINA, PR 00982-
   1895                                                                                                1895

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #43457 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 4 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                   Desc:
                                                              Exhibit A Page 6 of 27

                                                                Three Hundred and Forty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                DATE          CASE NUMBER /                                                                           DATE          CASE NUMBER /
            NAME                FILED            DEBTOR               CLAIM #      CLAIM AMOUNT                   NAME                FILED            DEBTOR               CLAIM #      CLAIM AMOUNT
19 COSME RIVERA, LUIS A         05/23/18   17 BK 03566-LTS /            13852             Undetermined* ADSEF / LUIS A COSME          05/23/18    17 BK 03283-LTS /           19011^              Undetermined*
   968 CALLE LABRADOR                      Employees Retirement                                         RIVERA                                    Commonwealth of Puerto
   SAN JUAN, PR 00924                      System of the Government                                     968 CALLE LABRADOR                        Rico
                                           of the Commonwealth of                                       SAN JUAN, PR 00924
                                           Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #19011 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
20 CRUZ ALVAREZ,                06/05/18   17 BK 03566-LTS /            45697             Undetermined* CRUZ ALVAREZ,                 06/05/18    17 BK 03283-LTS /            44792              Undetermined*
   CARMEN D                                Employees Retirement                                         CARMEN D                                  Commonwealth of Puerto
   PARC AMALIA MARIN                       System of the Government                                     PARC. AMALIA MARIN                        Rico
   5647 TAINO                              of the Commonwealth of                                       5647 CALLE TAINO
   PONCE, PR 00716                         Puerto Rico                                                  PONCE, PR 00716

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
21 CRUZ CRUZ, GERARDO           09/16/20   19-BK-05523-LTS / Puerto     176029               $ 14,400.00 CRUZ CRUZ, GERARDO           10/13/20    17 BK 03283-LTS /           177012                 $ 14,400.00
   GERARDO CRUZ CRUZ                       Rico Public Buildings                                         P.O. BOX 37575                           Commonwealth of Puerto
   HC 3 BOX 37575                          Authority (PBA)                                               CAGUAS, PR 00725                         Rico
   CAGUAS, PR 00725

   Reason: Duplicate liability filed against Debtor Puerto Rico Public Buildings Authority. All asserted liabilities, if any would be between the Claimant and the Commonwealth of Puerto Rico.
22 CRUZ LAUREANO,               05/11/18   17 BK 03566-LTS /            14633             Undetermined* CRUZ LAUREANO,                05/11/18    17 BK 03283-LTS /            14347              Undetermined*
   MARIA A                                 Employees Retirement                                         MARIA A                                   Commonwealth of Puerto
   BOX 8653                                System of the Government                                     BOX 8653                                  Rico
   CAGUAS, PR 00726                        of the Commonwealth of                                       CAGUAS, PR 00726
                                           Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
23 DE JESUS OCASIO,             06/06/18   17 BK 03566-LTS /            49045             Undetermined* DE JESUS OCASIO,              06/06/18    17 BK 03283-LTS /            49089              Undetermined*
   LIBRADO                                 Employees Retirement                                         LIBRADO                                   Commonwealth of Puerto
   APARTADO 1334                           System of the Government                                     APARTADO 1334                             Rico
   CANOVANAS, PR 00729                     of the Commonwealth of                                       CANOVANAS, PR 00729
                                           Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 5 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 7 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
24 DE JESUS RODRIGUEZ,         05/14/18   17 BK 03566-LTS /            15334             Undetermined* DE JESUS RODRIGUEZ,          05/14/18    17 BK 03283-LTS /           15012             Undetermined*
   JUAN                                   Employees Retirement                                         JUAN                                     Commonwealth of Puerto
   R.R.8. BOX. 9177 CO.                   System of the Government                                     RR8 BOX 9177 BO DAJAO                    Rico
   DAJAO                                  of the Commonwealth of                                       BAYAMON, PR 00956
   BAYAMON, PR 00956                      Puerto Rico

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
25 DIAZ DE JESUS, HECTOR       05/14/18   17 BK 03566-LTS /            11878             Undetermined* DIAZ DE JESUS, HECTOR        05/14/18    17 BK 03283-LTS /          11050^             Undetermined*
   PARQUE DEL MONTE                       Employees Retirement                                         CALLE AGUEYBANA                          Commonwealth of Puerto
   CC 16 CALLE                            System of the Government                                     CC-16                                    Rico
   AGUEYBANA                              of the Commonwealth of                                       PARQUE DEL MONTE
   CAGUAS, PR 00727                       Puerto Rico                                                  CAGUAS, PR 00725

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #11050 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
26 DIAZ DIAZ, RONNIE R.        06/06/18   17 BK 03566-LTS /           162306             Undetermined* DIAZ DIAZ, RONNIE R.         06/06/18    17 BK 03283-LTS /           48892             Undetermined*
   HC-66 BOX 10200                        Employees Retirement                                         HC-66 BOX 10200                          Commonwealth of Puerto
   FAJARDO, PR 00738                      System of the Government                                     FAJARDO, PR 00738                        Rico
                                          of the Commonwealth of
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
27 DIAZ RODRIGUEZ,             06/06/18   17 BK 03566-LTS /            31720             Undetermined* DIAZ RODRIGUEZ,              06/06/18    17 BK 03283-LTS /           31772             Undetermined*
   GABRIEL                                Employees Retirement                                         GABRIEL                                  Commonwealth of Puerto
   274 URUGUAT ST.                        System of the Government                                     274 URUGUAY ST.                          Rico
   COND TORRE ALTA PH 1                   of the Commonwealth of                                       COND TORRE ALTA PH 1
   SAN JUAN, PR 00917                     Puerto Rico                                                  SAN JUAN, PR 00917

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
28 ECHEVARRIA CINTRON,         06/06/18   17 BK 03566-LTS /            59643             Undetermined* ECHEVARRIA CINTRON,          06/06/18    17 BK 03283-LTS /           65661             Undetermined*
   FRANCIS                                Employees Retirement                                         FRANCIS                                  Commonwealth of Puerto
   BOX 619                                System of the Government                                     BOX 619                                  Rico
   FAJARDO, PR 00738                      of the Commonwealth of                                       FAJARDO, PR 00738
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 6 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 8 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
29 EMMANUELLI                  06/27/18   17 BK 03566-LTS /           107024             Undetermined* EMMANUELLI                   06/27/18    17 BK 03283-LTS /           97916             Undetermined*
   SANTIAGO, LAURA E.                     Employees Retirement                                         SANTIAGO, LAURA E                        Commonwealth of Puerto
   196-41 529 VILLA                       System of the Government                                     196-41 529 VILLA                         Rico
   CAROLINA                               of the Commonwealth of                                       CAROLINA
   CAROLINA, PR 00985                     Puerto Rico                                                  CAROLINA, PR 00985

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
30 ESTEVES ALVAREZ,            05/08/18   17 BK 03566-LTS /            12374             Undetermined* ESTEVEZ ALVAREZ,             05/08/18    17 BK 03283-LTS /           14403             Undetermined*
   CARMEN H                               Employees Retirement                                         CARMEN H                                 Commonwealth of Puerto
   URB LOS COLOBOS                        System of the Government                                     URB LOS COLOBOS                          Rico
   108 CALLE ALMENDRO                     of the Commonwealth of                                       PARK
   CAROLINA, PR 00987-                    Puerto Rico                                                  108 CALLE ALMENDRO
   8342                                                                                                CAROLINA, PR 00987

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
31 ESTEVES MASSO, JUAN         06/29/18   17 BK 03566-LTS /           133181             Undetermined* ESTEVES MASSO, JUAN          06/29/18    17 BK 03283-LTS /          163659             Undetermined*
   A.                                     Employees Retirement                                         URB VISTA MAR                            Commonwealth of Puerto
   CALLE NAVARRA #1018                    System of the Government                                     1018 CALLE NAVARRA                       Rico
   URB. VISTAMAR                          of the Commonwealth of                                       CAROLINA, PR 00983
   CAROLINA, PR 00983                     Puerto Rico

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
32 FELICIANO                   06/29/18   17 BK 03566-LTS /            95201               $ 520,817.00 FELICIANO                   06/29/18    17 BK 03283-LTS /           94389              $ 520,817.00*
   CONCEPCION,                            Employees Retirement                                          CONCEPCION,                             Commonwealth of Puerto
   BETZAIDA                               System of the Government                                      BETZAIDA                                Rico
   C/O MARVIN DIAZ                        of the Commonwealth of                                        C/O MARVIN DIAZ
   FERRER                                 Puerto Rico                                                   FERRER
   COND VICK CENTER                                                                                     COND VICK CENTER
   STE C202                                                                                             STE C202
   867 AVE MUNOZ                                                                                        867 AVE MUNOZ
   RIVERA                                                                                               RIVERA
   SAN JUAN, PR 00925                                                                                   SAN JUAN, PR 00925

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 7 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                   Desc:
                                                              Exhibit A Page 9 of 27

                                                                Three Hundred and Forty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                DATE          CASE NUMBER /                                                                           DATE          CASE NUMBER /
            NAME                FILED            DEBTOR               CLAIM #      CLAIM AMOUNT                   NAME                FILED            DEBTOR               CLAIM #      CLAIM AMOUNT
33 FIGUEROA RODRIGUEZ,          05/17/18   17 BK 03566-LTS /            18486                $ 39,479.56 FIGUEROA, ANA M              05/17/18    17 BK 03283-LTS /            16682                $ 39,479.56*
   ANA M                                   Employees Retirement                                          VILLAS DE LOIZA                          Commonwealth of Puerto
   VILLAS DE LOIZA                         System of the Government                                      K12 CALLE 7                              Rico
   K12 CALLE 7                             of the Commonwealth of                                        CANOVANAS, PR 00729
   CANOVANAS, PR 00729-                    Puerto Rico
   4206

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
34 FORESTIER ORTIZ,             06/28/18   17 BK 03566-LTS /            117660            Undetermined* FORESTIER ORTIZ,              06/28/18    17 BK 03283-LTS /           119417              Undetermined*
   JULIA E.                                Employees Retirement                                         JULIA E.                                  Commonwealth of Puerto
   URB. GUANAJIBO                          System of the Government                                     URB. GUANAJIBO                            Rico
   HOMES 816 G. PALES                      of the Commonwealth of                                       HOMES
   MATOS                                   Puerto Rico                                                  816 G. PALES MATOS
   MAYAGUEZ, PR 00682-                                                                                  MAYAGUEZ, PR 00682-
   1162                                                                                                 1162

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
35 GARCIA MARTINEZ,             05/25/18   17 BK 03566-LTS /            25084             Undetermined* GARCIA MARTINEZ,              05/25/18    17 BK 03283-LTS /            33346              Undetermined*
   HECTOR R                                Employees Retirement                                         HECTOR R.                                 Commonwealth of Puerto
   L-15 CALLE 14                           System of the Government                                     L-15 CALLE 14                             Rico
   CONDADO MODERNO                         of the Commonwealth of                                       CONDADO MODERNO
   CAGUAS, PR 00725                        Puerto Rico                                                  CAGUAS, PR 00725

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
36 GERMAN TORRES                06/04/20   19-BK-05523-LTS / Puerto     174089                 $ 3,900.00 GERMAN TORRES               06/07/18    17 BK 03283-LTS /            48747                 $ 15,178.00
   BERRIOS D/B/A                           Rico Public Buildings                                          BERRIOS &                               Commonwealth of Puerto
   GERMAN TORRES                           Authority (PBA)                                                ASSOCIADOS                              Rico
   BERRIOS & ASSOC.                                                                                       HC 04 BOX 5775
   HC-4 BOX 5775                                                                                          BARRANQUITAS, PR
   BARRANQUITAS, PR                                                                                       00794-9609
   00794-9800

   Reason: Duplicate liability filed against Debtor Puerto Rico Public Buildings Authority. All asserted liabilities, if any would be between the Claimant and the Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 8 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 10 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
37 GONZALEZ BENITEZ,           05/31/18   17 BK 03566-LTS /            47287                $ 48,000.00 GONZALEZ BENITEZ,           05/31/18    17 BK 03283-LTS /          90365^               $ 48,000.00*
   ROSA M.                                Employees Retirement                                          ROSA M                                  Commonwealth of Puerto
   T-706 CALLE                            System of the Government                                      T 706 CALLE                             Rico
   PASIONARIA                             of the Commonwealth of                                        PASIONARIA
   URB. LOIZA VALLEY                      Puerto Rico                                                   CANOVANAS, PR 00729
   CONDUANAS, PR 00729

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #90365 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
38 GONZALEZ LEON,              05/08/18   17 BK 03566-LTS /            12526               $ 59,313.00* GONZALEZ DE LEON,           05/08/18    17 BK 03283-LTS /          12312^               $ 59,313.00*
   IVETTE                                 Employees Retirement                                          IVETTE                                  Commonwealth of Puerto
   372 PELLIN RODRIGUEZ                   System of the Government                                      372 PELLIN RODRIGUEZ                    Rico
   VILLA PALMERA                          of the Commonwealth of                                        VILLAS PALOMERAS
   SANTURCE, PR 00915                     Puerto Rico                                                   SANTURCE, PR 00915

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #12312 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
39 GONZALEZ VIVALDI,           07/21/18   17 BK 03566-LTS /            68525                $ 20,000.00 GONZALEZ VIVALDI,           07/21/18    17 BK 03283-LTS /           68524               $ 20,000.00*
   MIGDALIA R.                            Employees Retirement                                          MIGDALIA R                              Commonwealth of Puerto
   209 CALLE MANUEL F                     System of the Government                                      209 CALLE MANUEL F                      Rico
   ROSSY                                  of the Commonwealth of                                        ROSSY
   SAN JUAN, PR 00918                     Puerto Rico                                                   SAN JUAN, PR 00918

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
40 GUTIERREZ MATOS,            05/25/18   17 BK 03566-LTS /            21710             Undetermined* GUTIÉRREZ MATOS,             05/25/18    17 BK 03283-LTS /          18098^             Undetermined*
   YASMIN                                 Employees Retirement                                         YASMIN                                   Commonwealth of Puerto
   PDA 20                                 System of the Government                                     CALLE MORALES                            Rico
   85A CALLE MORALES                      of the Commonwealth of                                       #85 - A PDA. 20
   SAN JUAN, PR 00909                     Puerto Rico                                                  SANTURCE, PR 00909

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #18098 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 9 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 11 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
41 HEREDIA CRUZ, MARIA         05/25/18   17 BK 03566-LTS /            31834             Undetermined* HEREDIA CRUZ, MARIA          05/25/18    17 BK 03283-LTS /           30335             Undetermined*
   RR 7 BOX 6956                          Employees Retirement                                         M                                        Commonwealth of Puerto
   SAN JUAN, PR 00926-9109                System of the Government                                     RR 7 BOX 6956                            Rico
                                          of the Commonwealth of                                       SAN JUAN, PR 00926
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
42 HERNANDEZ DUPREY,           05/25/18   17 BK 03566-LTS /            27402             Undetermined* HERNANDEZ DUPREY,            05/25/18    17 BK 03283-LTS /           27687             Undetermined*
   ALEX                                   Employees Retirement                                         ALEX                                     Commonwealth of Puerto
   PO BOX 919                             System of the Government                                     P.O BOX 919                              Rico
   PATILLAS, PR 00723                     of the Commonwealth of                                       PATILLAS, PR 00723
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
43 HERNANDEZ ROSARIO,          04/02/18   17 BK 03566-LTS /             3339             Undetermined* HERNANDEZ ROSARIO,           04/02/18    17 BK 03283-LTS /           5938              Undetermined*
   NORTON                                 Employees Retirement                                         NORTON                                   Commonwealth of Puerto
   HC 01 BOX 4997                         System of the Government                                     HC 01 BOX 4997                           Rico
   AIBONITO, PR 00705                     of the Commonwealth of                                       AIBONITO, PR 00705
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
44 HERNANDEZ RUIZ,             05/25/18   17 BK 03566-LTS /            22973             Undetermined* HERNANDEZ RUIZ,              05/25/18    17 BK 03283-LTS /           23075             Undetermined*
   JOHNNY                                 Employees Retirement                                         JOHNNY                                   Commonwealth of Puerto
   URB. JARDINES DE                       System of the Government                                     URB. JARDINES DE                         Rico
   SASLINAS A-20                          of the Commonwealth of                                       SALINAS A-20
   CALLE ROLANDO CRUZ                     Puerto Rico                                                  CALLE ROLANDO CRUZ
   QUIÑONEZ                                                                                            QUINONEZ
   SALINAS, PR 00751                                                                                   SALINAS, PR 00751

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
45 LABOY RIVERA, IRAIDA        03/15/18   17 BK 03566-LTS /             2049             Undetermined* LABOY RIVERA, IRAIDA         03/20/18    17 BK 03283-LTS /           4020              Undetermined*
   URBANIZACION                           Employees Retirement                                         PO BOX 218                               Commonwealth of Puerto
   MENDEZ                                 System of the Government                                     YABUCOA, PR 00767-                       Rico
   P. O. BOX 218                          of the Commonwealth of                                       0218
   YABUCOA, PR 00767                      Puerto Rico

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 10 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 12 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
46 LIMA COLON, MIRIAM          06/29/18   17 BK 03566-LTS /            92772               $ 635,868.58 LIMA COLON, MIRIAM          06/29/18    17 BK 03283-LTS /           84695              $ 635,868.58*
   C/O MARVIN DIAZ                        Employees Retirement                                          C/O MARVIN DIAZ                         Commonwealth of Puerto
   FERRER                                 System of the Government                                      FERRER                                  Rico
   COND VICK CENTER                       of the Commonwealth of                                        COND. VICK CENTER
   STE C202                               Puerto Rico                                                   STE.C-202
   867 AVE MUNOZ                                                                                        867 AVE MUNOZ
   RIVERA                                                                                               RIVERA
   SAN JUAN, PR 00925                                                                                   SAN JUAN, PR 00925

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
47 LIMERY DONES,               05/23/18   17 BK 03566-LTS /            19459             Undetermined* LIMERY DONES,                05/23/18    17 BK 03283-LTS /          15110^             Undetermined*
   MARITZA                                Employees Retirement                                         MARITZA                                  Commonwealth of Puerto
   HB-13 CALLE ELIZA                      System of the Government                                     HB-13 CALLE ELIZA                        Rico
   TABAREZ                                of the Commonwealth of                                       TABAREZ
   7MA SECCION,                           Puerto Rico                                                  7MA SECCION,
   LEVITTOWN                                                                                           LEVITTOWN
   TOA BAJA, PR 00949                                                                                  TOA BAJA, PR 00949

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #15110 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
48 LOPEZ COLLAZO,              07/03/18   17 BK 03566-LTS /           138264             Undetermined* LOPEZ COLLAZO,               04/25/18    17 BK 03283-LTS /           8608              Undetermined*
   REYNALDO                               Employees Retirement                                         REYNALDO                                 Commonwealth of Puerto
   PO BOX 539                             System of the Government                                     APTDO.539 BO. RINCON                     Rico
   CIDRA, PR 00739                        of the Commonwealth of                                       SECTOR CANDELA
                                          Puerto Rico                                                  CIDRA, PR 00739

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
49 LOPEZ TORRES, JAMMY         05/11/18   17 BK 03566-LTS /            13665             Undetermined* LOPEZ TORRES, JAMMY          05/11/18    17 BK 03283-LTS /           14422             Undetermined*
   3U-37 41 ALTORAS DE                    Employees Retirement                                         3U-37 41 ALTORAS DE                      Commonwealth of Puerto
   BUCARABONES                            System of the Government                                     BUCARABONES                              Rico
   TOA ALTA, PR 00953                     of the Commonwealth of                                       TOA ALTA, PR 00953
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 11 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 13 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
50 LOPEZ VALENTIN ,            06/28/18   17 BK 03566-LTS /            66474             Undetermined* LOPEZ VALENTIN,              06/28/18    17 BK 03283-LTS /           66138             Undetermined*
   CARIDAD                                Employees Retirement                                         CARIDAD                                  Commonwealth of Puerto
   HC-01 BOX 3807 CALLE                   System of the Government                                     HC-01 BOX 3807                           Rico
   JONES                                  of the Commonwealth of                                       CALLEJONES
   LARES, PR 00669                        Puerto Rico                                                  LARES, PR 00669

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
51 LUGO ORTIZ, WANDA I         05/29/18   17 BK 03566-LTS /            25146             Undetermined* LUGO ORTIZ, WANDA I.         05/29/18    17 BK 03283-LTS /           26526             Undetermined*
   URB FLAMBOYANES                        Employees Retirement                                         VILLAS DEL LAUREL II                     Commonwealth of Puerto
   1622 CALLE LILAS                       System of the Government                                     1412 BOULEVARD                           Rico
   PONCE, PR 00716                        of the Commonwealth of                                       COTO LAUREL, PR 00780
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
52 MANGUAL FLORES,             05/22/18   17 BK 03566-LTS /            29762             Undetermined* MANGUAL FLORES,              05/22/18    17 BK 03283-LTS /           18462             Undetermined*
   NILDA                                  Employees Retirement                                         NILDA                                    Commonwealth of Puerto
   CALLE 1 I13 ESTANCIAS                  System of the Government                                     CALLE I13 ESTANCIAS                      Rico
   SAN FDO.                               of the Commonwealth of                                       SAN FDO.
   CAROLINA, PR 00985                     Puerto Rico                                                  CAROLINA, PR 00985

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
53 MARCIAL MATTEI,             05/29/18   17 BK 03566-LTS /            46919             Undetermined* MARCIAL MATTEI,              05/29/18    17 BK 03283-LTS /           35154             Undetermined*
   REINALDO                               Employees Retirement                                         REINALDO                                 Commonwealth of Puerto
   #25 BRANDEN                            System of the Government                                     CALLE BRANDON #25                        Rico
   ENSENADA, PR 00647                     of the Commonwealth of                                       ENSENADA, PR 00647
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
54 MARTINEZ COLLAZO,           06/13/18   17 BK 03566-LTS /            64864             Undetermined* MARTINEZ COLLAZO,            06/13/18    17 BK 03283-LTS /           59591             Undetermined*
   ANGELA                                 Employees Retirement                                         ANGELA                                   Commonwealth of Puerto
   PO BOX 3056                            System of the Government                                     P.O. BOX 3056                            Rico
   JUNCOS, PR 00777                       of the Commonwealth of                                       JUNCOS, PR 00777
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 12 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 14 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
55 MARTINEZ LEON, JOSE         05/02/18   17 BK 03566-LTS /            10029             Undetermined* MARTINEZ LEON, JOSE          03/31/20    17 BK 03283-LTS /          173698             Undetermined*
   R                                      Employees Retirement                                         R                                        Commonwealth of Puerto
   PO BOX 835                             System of the Government                                     PO BOX 835                               Rico
   GUAYAMA, PR 00785-                     of the Commonwealth of                                       GUAYAMA, PR 00785-
   0835                                   Puerto Rico                                                  0835

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
56 MARTINEZ UMPIERRE,          05/29/18   17 BK 03566-LTS /            38837             Undetermined* MARTINEZ UMPIERRE,           05/29/18    17 BK 03283-LTS /           37930             Undetermined*
   MARIA                                  Employees Retirement                                         MARIA DEL CARMEN                         Commonwealth of Puerto
   URB SANTA CLARA                        System of the Government                                     URB. SANTA CLARA                         Rico
   21 CALLE 2                             of the Commonwealth of                                       CALLE 2 #21
   SAN LORENZO, PR 00754                  Puerto Rico                                                  SAN LORENZO, PR 00154
   -3211

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
57 MATOS COLON, ELVIRA         07/05/18   17 BK 03566-LTS /           161949             Undetermined* MATOS COLON, ELVIRA          07/05/18    17 BK 03283-LTS /          144479^            Undetermined*
   ROUND HILLS                            Employees Retirement                                         URB ROUND HLS                            Commonwealth of Puerto
   668 CALLE VIOLETA                      System of the Government                                     668 CALLE VIOLETA                        Rico
   URB ROUND HLS                          of the Commonwealth of                                       TRUJILLO ALTO, PR
   TRUJILLO ALTO, PR                      Puerto Rico                                                  00976-2715
   00976

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #144479 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
58 MEDINA DE REYES,            05/08/18   17 BK 03566-LTS /            12509                $ 38,389.11 MEDINA DE REYES,            05/08/18    17 BK 03283-LTS /          12345^               $ 38,389.11*
   NITZA                                  Employees Retirement                                          NITZA                                   Commonwealth of Puerto
   PO BOX 781                             System of the Government                                      PO BOX 781                              Rico
   RIO GRANDE, PR 00745-                  of the Commonwealth of                                        RIO GRANDE, PR 00745
   0781                                   Puerto Rico

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #12345 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 13 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 15 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
59 MELENDEZ OTERO ,            07/02/18   17 BK 03566-LTS /           135723             Undetermined* MELENDEZ OTERO,              07/02/18    17 BK 03283-LTS /          142461             Undetermined*
   IDALIS                                 Employees Retirement                                         IDALIS                                   Commonwealth of Puerto
   PO BOX 1082                            System of the Government                                     P.O. BOX 1082                            Rico
   OROCOVIS, PR 00720                     of the Commonwealth of                                       OROCOVIS, PR 00720
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
60 MENDEZ MORALES,             06/05/18   17 BK 03566-LTS /            74076             Undetermined* MENDEZ MORALES,              06/05/18    17 BK 03283-LTS /           59704             Undetermined*
   CARLOS                                 Employees Retirement                                         CARLOS                                   Commonwealth of Puerto
   HC-09 BOX 5253                         System of the Government                                     HC-09 BOX 5253                           Rico
   SABANA GRANDE, PR                      of the Commonwealth of                                       SABANA GRANDE, PR
   00637                                  Puerto Rico                                                  00637

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
61 MERCADO DIAZ,               06/28/18   17 BK 03566-LTS /           114988             Undetermined* MERCADO DIAZ,                06/28/18    17 BK 03283-LTS /          138808             Undetermined*
   ISUANNE HE                             Employees Retirement                                         ISUANNETTE                               Commonwealth of Puerto
   PO BOX 8112                            System of the Government                                     PO BOX 8112                              Rico
   PONCE, PR 00732                        of the Commonwealth of                                       PONCE, PR 00732
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
62 NAZARIO RIVERA,             05/11/18   17 BK 03566-LTS /            22854             Undetermined* NAZARIO RIVERA,              05/11/18    17 BK 03283-LTS /           18227             Undetermined*
   EILEEN                                 Employees Retirement                                         EILEEN                                   Commonwealth of Puerto
   PO BOX 797                             System of the Government                                     PO BOX 797                               Rico
   PATILLAS, PR 00723                     of the Commonwealth of                                       PATILLES, PR 00723
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
63 NEGRON COLLAZO,             05/29/18   17 BK 03566-LTS /            43640             Undetermined* NEGRON COLLAZO,              05/29/18    17 BK 03283-LTS /           40691             Undetermined*
   ANA M.                                 Employees Retirement                                         ANA M                                    Commonwealth of Puerto
   B 11 URB TIERRA                        System of the Government                                     URB. TIERRA SANTA                        Rico
   SANTA                                  of the Commonwealth of                                       C/ B #11
   VILLALBA, PR 00766                     Puerto Rico                                                  VILLALBA, PR 00766-
                                                                                                       2326

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 14 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 16 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
64 ORTIZ DAVILA, IRIS A.       06/06/18   17 BK 03566-LTS /            54352             Undetermined* ORTIZ DAVILA, IRIS A         06/06/18    17 BK 03283-LTS /           49302             Undetermined*
   PO BOX 146                             Employees Retirement                                         P O BOX 146                              Commonwealth of Puerto
   LOIZA, PR 00772                        System of the Government                                     LOIZA, PR 00772                          Rico
                                          of the Commonwealth of
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
65 ORTIZ DIAZ, AWILDA          05/25/18   17 BK 03566-LTS /            37246             Undetermined* ORTIZ DIAZ, AWILDA           05/25/18    17 BK 03283-LTS /          26745^             Undetermined*
   525 CARR 8860 APT 2473                 Employees Retirement                                         525 CARR. 8860, APT.                     Commonwealth of Puerto
   TRUJILLO ALTO, PR                      System of the Government                                     2473                                     Rico
   00976                                  of the Commonwealth of                                       TRUJILLO ALTO, PR
                                          Puerto Rico                                                  00976

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #26745 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
66 ORTIZ MALDONADO,            05/10/18   17 BK 03566-LTS /            13660             Undetermined* ORTIZ-MALDONADO,             05/10/18    17 BK 03283-LTS /           14141             Undetermined*
   HILDA                                  Employees Retirement                                         HILDA                                    Commonwealth of Puerto
   URB MIRAFLORES                         System of the Government                                     URB MIRAFLORES 29-7                      Rico
   BLOQ 29-7 CALLE 38                     of the Commonwealth of                                       CALLE 38
   BAYAMON, PR 00957                      Puerto Rico                                                  BAYAMON, PR 00957

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
67 OSORIO GUZMAN, LUIS         06/05/18   17 BK 03566-LTS /            73427             Undetermined* OSORIO GUZMAN, LUIS          06/05/18    17 BK 03283-LTS /           66216             Undetermined*
   D.                                     Employees Retirement                                         D.                                       Commonwealth of Puerto
   PO BOX 358                             System of the Government                                     P.O. BOX 358                             Rico
   CEIBA, PR 00735                        of the Commonwealth of                                       CEIBA, PR 00735
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
68 OTRAY LOPEZ, SHARON         05/21/18   17 BK 03566-LTS /            41100                $ 43,622.97 OFRAY LOPEZ, SHARON         05/21/18    17 BK 03283-LTS /           35498                $ 43,622.97
   J.                                     Employees Retirement                                          J.                                      Commonwealth of Puerto
   945 C/RIO PIEDRAS                      System of the Government                                      945 C/ROP PEDRAS                        Rico
   URB MONTESORA I                        of the Commonwealth of                                        MONTESONA
   AGUIRRE, PR 00704                      Puerto Rico                                                   AGUIRRE, PR 00704

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 15 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 17 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
69 PELUYERA ROSA,              05/23/18   17 BK 03566-LTS /            18387             Undetermined* PELUYERA ROSA,               05/23/18    17 BK 03283-LTS /          15086^             Undetermined*
   CARMEN L.                              Employees Retirement                                         CARMEN L                                 Commonwealth of Puerto
   HC 1 BOX 24553                         System of the Government                                     HC 1 BOX 24553                           Rico
   CAGUAS, PR 00725                       of the Commonwealth of                                       CAGUAS, PR 00725
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #15086 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
70 PEREZ RESTO, MARIA          07/06/18   17 BK 03566-LTS /           135318               $ 119,388.08 PEREZ RESTO, MARIA          07/06/18    17 BK 03283-LTS /           91895               $ 119,388.08
   NITZA                                  Employees Retirement                                          NITZA                                   Commonwealth of Puerto
   URB. VILLA CAROLINA                    System of the Government                                      URB. VILLA CAROLINA                     Rico
   235-11 C/615                           of the Commonwealth of                                        235-11
   CAROLINA, PR 00985-                    Puerto Rico                                                   CALLE 615
   2228                                                                                                 CAROLINA, PR 00985-
                                                                                                        2228

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
71 QUINONES MEDINA,            06/06/18   17 BK 03566-LTS /            49223             Undetermined* QUINONES MEDINA,             06/06/18    17 BK 03283-LTS /           58045             Undetermined*
   CARMEN                                 Employees Retirement                                         CARMEN                                   Commonwealth of Puerto
   AE-1 20 VILLAS DE                      System of the Government                                     VILLA DE LOIZA                           Rico
   LOIZA                                  of the Commonwealth of                                       AE1 CALLE 29
   CANOVANAS, PR 00729                    Puerto Rico                                                  CANOVANAS, PR 00729

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
72 QUITL MORALES,              06/26/18   17 BK 03566-LTS /            95161             Undetermined* QUITT MORALES,               06/26/18    17 BK 03283-LTS /           93453             Undetermined*
   VERONICA                               Employees Retirement                                         VERONICA                                 Commonwealth of Puerto
   HC 23 BOX 6430                         System of the Government                                     HC 23 BOX 6430                           Rico
   JUNCOS, PR 00777                       of the Commonwealth of                                       JUNCOS, PR 00777
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 16 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 18 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
73 RAMIREZ OLIVERIA,           07/03/18   17 BK 03566-LTS /           154019                $ 6,000.00* RAMIREZ OLIVERCIA,          06/28/18    17 BK 03283-LTS /          116723                $ 6,000.00*
   HAYDEE                                 Employees Retirement                                          HAYDEE                                  Commonwealth of Puerto
   PO BOX 423                             System of the Government                                      P.O. BOX 423                            Rico
   ANASCO, PR 00610                       of the Commonwealth of                                        ANASCO, PR 00610
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
74 RAMIREZ ROLDAN,             06/12/18   17 BK 03566-LTS /            63748             Undetermined* RAMIREZ ROLDAN,              06/12/18    17 BK 03283-LTS /           78577             Undetermined*
   MARIA                                  Employees Retirement                                         MARIA                                    Commonwealth of Puerto
   PO BOX 58                              System of the Government                                     PO BOX 58                                Rico
   GURABO, PR 00778                       of the Commonwealth of                                       GURABO, PR 00778-0058
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
75 RAMOS VEGA, MARISOL         05/25/18   17 BK 03566-LTS /            32040               $ 64,068.00* RAMOS VEGA, MARISOL         05/25/18    17 BK 03283-LTS /          26439^               $ 64,068.00*
   URB BUENOVENTURA                       Employees Retirement                                          JUAN E. SERRANO                         Commonwealth of Puerto
   1321 CALLE GERANIO                     System of the Government                                      SANTIAGO                                Rico
   MAYAGUEZ, PR 00686-                    of the Commonwealth of                                        1321 CALLE GERANIO
   1282                                   Puerto Rico                                                   URB. BUENAVENTURA
                                                                                                        PO BOX 70199
                                                                                                        MAYAGUEZ, PR 00682-
                                                                                                        1282

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #26439 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
76 REYES SANTIAGO,             05/10/18   17 BK 03566-LTS /            14704             Undetermined* REYES-SANTIAGO,              05/10/18    17 BK 03283-LTS /           13689             Undetermined*
   MIGUEL A                               Employees Retirement                                         MIGUEL A                                 Commonwealth of Puerto
   URB MIRAFLORES                         System of the Government                                     URB. MIRA FLORES 29-7                    Rico
   C-38 BLOQ 29 NUM 7                     of the Commonwealth of                                       CALLE 38
   BAYAMON, PR 00957                      Puerto Rico                                                  BAYAMON, PR 00957

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 17 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 19 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
77 REYES SANTIAGO,             05/25/18   17 BK 03566-LTS /            25025             Undetermined* REYES SANTIAGO,              05/25/18    17 BK 03283-LTS /           29819             Undetermined*
   NELSON A                               Employees Retirement                                         NELSON A                                 Commonwealth of Puerto
   BO COCO VIEJO                          System of the Government                                     133 E PALES MATOS                        Rico
   133 E CALLE PALES                      of the Commonwealth of                                       COCO VIEJO
   MATOS                                  Puerto Rico                                                  SALINAS, PR 00751
   SALINAS, PR 00751

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
78 RIVERA DOMINGUEZ,           05/22/18   17 BK 03566-LTS /            32231             Undetermined* RIVERA DOMINGUEZ,            05/22/18    17 BK 03283-LTS /           31275             Undetermined*
   ELIZABETH                              Employees Retirement                                         ELIZABETH                                Commonwealth of Puerto
   BRISAS DE LOIZA                        System of the Government                                     BRISAS DE LOIZA                          Rico
   225 CALLE LIBRA                        of the Commonwealth of                                       225 CALLE LIBRA
   CANOVANAS, PR 00729-                   Puerto Rico                                                  CANOVANAS, PR 00729-
   2987                                                                                                2987

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
79 RIVERA ENCARNACION,         05/23/18   17 BK 03566-LTS /            19439             Undetermined* RIVERA ENCARNACION,          05/24/18    17 BK 03283-LTS /          20306^             Undetermined*
   MADELINE                               Employees Retirement                                         MADELINE                                 Commonwealth of Puerto
   PO BOX 20135                           System of the Government                                     PO BOX 20135                             Rico
   SAN JUAN, PR 00928-0135                of the Commonwealth of                                       SAN JUAN, PR 00928-0135
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #20306 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
80 RIVERA RODRIGUEZ,           05/08/18   17 BK 03566-LTS /            13675               $ 39,000.00* RIVERA RODRIGUEZ,           05/08/18    17 BK 03283-LTS /           12341               $ 39,000.00*
   NAYDA                                  Employees Retirement                                          NAYDA L.                                Commonwealth of Puerto
   URB VISTAMAR                           System of the Government                                      CATALUNA 162                            Rico
   162 CALLE CATALUNA                     of the Commonwealth of                                        VISTAMAR
   CAROLINA, PR 00983-                    Puerto Rico                                                   CAROLINA, PR 00983
   1843

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 18 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 20 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
81 RIVERA TORRES, JOSE I.      05/29/18   17 BK 03566-LTS /            45585             Undetermined* RIVERA TORRES, JOSE I        05/29/18    17 BK 03283-LTS /           43761             Undetermined*
   B-11 URB. TIERRA                       Employees Retirement                                         URB. TIERRA SANTA                        Commonwealth of Puerto
   SANTA                                  System of the Government                                     CALLE B NUM. 11                          Rico
   VILLALBA, PR 00766                     of the Commonwealth of                                       VILLALBA, PR 00766
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
82 RIVERA VELAZQUEZ,           06/05/18   17 BK 03566-LTS /            48391             Undetermined* RIVERA VELAZQUEZ,            06/05/18    17 BK 03283-LTS /           56103             Undetermined*
   WANDA I                                Employees Retirement                                         WANDA I                                  Commonwealth of Puerto
   URB. VILLA SERENA -                    System of the Government                                     URB. VILLA SERENA -                      Rico
   BUZON 76                               of the Commonwealth of                                       BUZON 76
   SANTA ISABEL, PR 00757                 Puerto Rico                                                  SANTA ISABEL, PR 00757

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
83 RIVERA, ZULMA               05/22/18   17 BK 03566-LTS /            29313             Undetermined* LANDRAU RIVERA,              05/22/18    17 BK 03283-LTS /           23761             Undetermined*
   LANDRAU                                Employees Retirement                                         ZULMA                                    Commonwealth of Puerto
   RR 1 BOX 35                            System of the Government                                     R.R. 1 BOX 35                            Rico
   CAROLINA, PR 00983                     of the Commonwealth of                                       CAROLINA, PR 00983
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
84 RODRIGUEZ GONZALEZ,         05/24/18   17 BK 03566-LTS /            18897             Undetermined* RODRIGUEZ GONZALEZ,          05/24/18    17 BK 03283-LTS /           19945             Undetermined*
   TANYA                                  Employees Retirement                                         TANYA                                    Commonwealth of Puerto
   P.O. BOX 13871                         System of the Government                                     PO BOX 13871                             Rico
   SAN JUAN, PR 00908-3871                of the Commonwealth of                                       SAN JUAN, PR 00908-3871
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
85 RODRIGUEZ                   06/13/18   17 BK 03566-LTS /            60053             Undetermined* RODRIGUEZ                    06/13/18    17 BK 03283-LTS /           56020             Undetermined*
   HERNANDEZ, ROBERTO                     Employees Retirement                                         HERNANDEZ, ROBERTO                       Commonwealth of Puerto
   CALLE 60 2I 20 URB                     System of the Government                                     CALLE 60 2I 20 URB                       Rico
   METROPOLIS                             of the Commonwealth of                                       METROPOLIS
   CAROLINA, PR 00987                     Puerto Rico                                                  CAROLINA, PR 00987

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 19 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 21 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
86 RODRIGUEZ LOPEZ,            05/22/18   17 BK 03566-LTS /            24589                $ 48,821.92 RODRIGUEZ LOPEZ,            05/22/18    17 BK 03283-LTS /          28152^                $ 48,821.92
   RAQUEL                                 Employees Retirement                                          RAQUEL                                  Commonwealth of Puerto
   PO BOX 7307                            System of the Government                                      PO BOX 7307                             Rico
   CAROLINA, PR 00986-                    of the Commonwealth of                                        CAROLINA, PR 00986-
   7307                                   Puerto Rico                                                   7307

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #28152 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
87 RODRIGUEZ                   05/25/18   17 BK 03566-LTS /            24512             Undetermined* RODRIGUEZ                    05/25/18    17 BK 03283-LTS /           45793             Undetermined*
   RODRIGUEZ, CARLOS R                    Employees Retirement                                         RODRIGUEZ, CARLOS R                      Commonwealth of Puerto
   CALLE 3 #56 URB. SAN                   System of the Government                                     CALLE 3 5-6 URB. SAN                     Rico
   MARTIN                                 of the Commonwealth of                                       MARTIN
   PATILLAS, PR 00723                     Puerto Rico                                                  PATILLAS, PR 00723

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
88 RODRIGUEZ VELEZ,            05/24/18   17 BK 03566-LTS /            29549                $ 4,748.79* RODRIGUEZ VELEZ ,           05/24/18    17 BK 03283-LTS /           26315                $ 4,748.79*
   RICARDO I                              Employees Retirement                                          RICARDO I                               Commonwealth of Puerto
   HC23 BOX 67150                         System of the Government                                      HC 23 BOX 67150                         Rico
   JUNCOS, PR 00777                       of the Commonwealth of                                        JUNCOS, PR 00777
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
89 RODRIGUEZ, HILDELISA        06/27/18   17 BK 03566-LTS /           104400             Undetermined* RODRIGUEZ, HILDELISA         06/27/18    17 BK 03283-LTS /          121907             Undetermined*
   HC 01 BUZON 8645                       Employees Retirement                                         HC 1 BZN 8645                            Commonwealth of Puerto
   LUQUILLO, PR 00773                     System of the Government                                     LUQUILLO, PR 00773                       Rico
                                          of the Commonwealth of
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
90 ROMERO MENDEZ,              06/21/18   17 BK 03566-LTS /            83288               $ 300,000.00 ROMERO MENDEZ,              06/21/18    17 BK 03283-LTS /           98541               $ 300,000.00
   MARANGELI                              Employees Retirement                                          MARANGELI                               Commonwealth of Puerto
   203 CALLE WESER                        System of the Government                                      URB BRISAS DEL PRADO                    Rico
   JUNCOS, PR 00777                       of the Commonwealth of                                        203 CALLE WESER
                                          Puerto Rico                                                   JUNCOS, PR 00777-9406

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 20 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 22 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
91 ROSA MALDONADO,             05/21/18   17 BK 03566-LTS /            29272             Undetermined* MALDONADO, MYRIAM            05/21/18    17 BK 03283-LTS /           27241             Undetermined*
   MYRIAM                                 Employees Retirement                                         ROSA                                     Commonwealth of Puerto
   LOMAS DE CAROLINA                      System of the Government                                     UU9 CALLE YUNG                           Rico
   YUNQUESITO UU9                         of the Commonwealth of                                       VISITA HONDA
   CAROLINA, PR 00987                     Puerto Rico                                                  CAROLINA, PR 00987

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
92 ROSA ROSARIO,               06/06/18   17 BK 03566-LTS /            64983             Undetermined* ROSA ROSARIO,                06/06/18    17 BK 03283-LTS /           69290             Undetermined*
   MANUEL                                 Employees Retirement                                         MANUEL                                   Commonwealth of Puerto
   PO BOX 1530                            System of the Government                                     PO BOX 1530                              Rico
   RIO GRANDE, PR 00745                   of the Commonwealth of                                       RIO GRANDE, PR 00745
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
93 ROSARIO ROSARIO,            06/29/18   17 BK 03566-LTS /           147764               $ 18,000.00* ROSARIO ROSARIO,            06/29/18    17 BK 03283-LTS /          145627^              $ 18,000.00*
   SONIA                                  Employees Retirement                                          SONIA                                   Commonwealth of Puerto
   URB METROPOLIS                         System of the Government                                      URB METROPOLIS                          Rico
   S21 CALLE 27                           of the Commonwealth of                                        S21 CALLE 27
   CAROLINA, PR 00987                     Puerto Rico                                                   CAROLINA, PR 00987-
                                                                                                        7459

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #145627 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
94 RUIZ MORALES , MARIA        06/05/18   17 BK 03566-LTS /           103871              $ 250,000.00* RUIZ MORALES, MARIA         07/06/18    17 BK 03283-LTS /          147169              $ 250,000.00*
   T.                                     Employees Retirement                                          T.                                      Commonwealth of Puerto
   RUIZ MORALES, MARIA                    System of the Government                                      SECTOR PABON                            Rico
   T.                                     of the Commonwealth of                                        93 CALLE PEDRO PABON
   SECTOR PABON 93                        Puerto Rico                                                   MOROVIS, PR 00687
   CALLE PEDRO PABON
   MOROVIS, PR 00687

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 21 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 23 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
95 RZADKOWSKI,                 05/21/18   17 BK 03566-LTS /            26703             Undetermined* RZADKOWSKI                   05/21/18    17 BK 03283-LTS /           26788             Undetermined*
   RICHARD                                Employees Retirement                                         CHEVERE, RICHARD                         Commonwealth of Puerto
   QUINTAS DE CUPEY                       System of the Government                                     A-5 CALLE 14                             Rico
   A-5 CALLE 14                           of the Commonwealth of                                       QUINTAS DE CUPEY
   SAN JUAN, PR 00926                     Puerto Rico                                                  SAN JUAN, PR 00926

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
96 SANCHEZ MARTINEZ,           05/18/18   17 BK 03566-LTS /            31033             Undetermined* SANCHEZ MARTINEZ,            05/18/18    17 BK 03283-LTS /           28700             Undetermined*
   MADELINE                               Employees Retirement                                         MADELINE                                 Commonwealth of Puerto
   500 BLVD DE RIO                        System of the Government                                     500 BLVD DEL RIO APT                     Rico
   APT 3503                               of the Commonwealth of                                       3503
   HUMACAO, PR 00791-                     Puerto Rico                                                  HUMACAO, PR 00791-
   4503                                                                                                4503

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
97 SANCHEZ SANCHEZ,            05/30/18   17 BK 03566-LTS /            42874             Undetermined* SANCHEZ SANCHEZ ,            05/30/18    17 BK 03283-LTS /           41935             Undetermined*
   AIDA I                                 Employees Retirement                                         AIDA I                                   Commonwealth of Puerto
   PO BOX 1298                            System of the Government                                     P.O.BOX 1298                             Rico
   YABUCOA, PR 00767                      of the Commonwealth of                                       YABUCOA, PR 00767
                                          Puerto Rico
   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
98 SANDOVAL                    04/16/18   17 BK 03566-LTS /             7416             Undetermined* SANDOVAL                     04/16/18    17 BK 03283-LTS /           7440              Undetermined*
   CARRASQUILL, EDWIN                     Employees Retirement                                         CARRASQUILL, EDWIN                       Commonwealth of Puerto
   URB ALTS DE RIO                        System of the Government                                     ALTURAS DE RIO                           Rico
   GRANDE                                 of the Commonwealth of                                       GRANDE Y 1351 C/ 25
   Y1351 CALLE 25                         Puerto Rico                                                  RIO GRANDE, PR 00745
   ALTURAS
   RIO GRANDE, PR 00745

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 22 of 26
                                    Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 24 of 27

                                                                Three Hundred and Forty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Disallowed
                                     CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
99 SANTANA FELICIANO,           05/29/18   17 BK 03566-LTS /            38953               $ 14,000.00* SANTANA FELICIANO,          05/29/18    17 BK 03283-LTS /          38993^               $ 14,000.00*
   IRIS                                    Employees Retirement                                          IRIS E.                                 Commonwealth of Puerto
   ALT DE RIO GRANDE                       System of the Government                                      ALTURAS DE RIO                          Rico
   J 438 CALLE 9                           of the Commonwealth of                                        GRANDE
   RIO GRANDE, PR 00745                    Puerto Rico                                                   CALLE 9 J-438
                                                                                                         RIO GRANDE, PR 00745

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
    ^ Claim #38993 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
100 SANTOS CATALA,              05/24/18   17 BK 03566-LTS /            32848             Undetermined* SANTOS CATALA,               05/24/18    17 BK 03283-LTS /           33098             Undetermined*
    OMAR                                   Employees Retirement                                         OMAR                                     Commonwealth of Puerto
    RR#6 BOX 9674                          System of the Government                                     RR#6 BOX 9674                            Rico
    CAIMITO BAJO                           of the Commonwealth of                                       CAIMITO BAJO
    SAN JUAN, PR 00926                     Puerto Rico                                                  SAN JUAN, PR 00926

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
101 TORRES APONTE , IRIS        05/25/18   17 BK 03566-LTS /            21503             Undetermined* TORRES APONTE, IRIS N        05/25/18    17 BK 03283-LTS /          20144^             Undetermined*
    N.                                     Employees Retirement                                         PO BOX 9989                              Commonwealth of Puerto
    PO BOX 9989                            System of the Government                                     SAN JUAN, PR 00908                       Rico
    SAN JUAN, PR 00908                     of the Commonwealth of
                                           Puerto Rico
    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
    ^ Claim #20144 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
102 TORRES PELUYERA,            05/22/18   17 BK 03566-LTS /            14061             Undetermined* TORRES PELUYERA,             05/22/18    17 BK 03283-LTS /          13849^             Undetermined*
    MARANGELY                              Employees Retirement                                         MARANGELY                                Commonwealth of Puerto
    HC 4 BOX 58377                         System of the Government                                     HC 4 BOX 58377                           Rico
    GUAYNABO, PR 00971                     of the Commonwealth of                                       GUAYNABO, PR 00971
                                           Puerto Rico
    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
    ^ Claim #13849 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 23 of 26
                                    Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 25 of 27

                                                                Three Hundred and Forty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Disallowed
                                     CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
103 TORRES QUILES, MARIA        06/25/18   17 BK 03566-LTS /            88138             Undetermined* TORRES QUILES, MARIA         06/25/18    17 BK 03283-LTS /           89569             Undetermined*
    JOSEFA                                 Employees Retirement                                         JOSEFA                                   Commonwealth of Puerto
    PO BOX 3273                            System of the Government                                     PO BOX 3273                              Rico
    BAYAMON, PR 00958                      of the Commonwealth of                                       BAYAMON, PR 00958
                                           Puerto Rico
    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
104 TORRES RIVERA, PEDRO        05/29/18   17 BK 03566-LTS /            40047             Undetermined* TORRES RIVERA, PEDRO         05/29/18    17 BK 03283-LTS /           32242             Undetermined*
    J                                      Employees Retirement                                         J                                        Commonwealth of Puerto
    URB EL COMANDANTE                      System of the Government                                     913 C/ANTONIO DE LOS                     Rico
    913 CANTONIO DE LOS                    of the Commonwealth of                                       REYES
    REYES                                  Puerto Rico                                                  SAN JUAN, PR 00924
    SAN JUAN, PR 00924

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
105 TORRES TORRES, RAUL         05/11/18   17 BK 03566-LTS /            14454             Undetermined* TORRES TORRES, RAUL          05/11/18    17 BK 03283-LTS /           14430             Undetermined*
    VILLA DEL REY 1RA                      Employees Retirement                                         VILLA DEL REY 1                          Commonwealth of Puerto
    SECC.                                  System of the Government                                     G18 CALLE EDINBURGO                      Rico
    G 18 CALLE EDINBURGO                   of the Commonwealth of                                       CAGUAS, PR 00725-6203
    CAGUAS, PR 00725                       Puerto Rico

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
106 VEGA DE LA CRUZ,            07/05/18   17 BK 03566-LTS /           156432             Undetermined* VEGA DE LA CRUZ,             07/05/18    17 BK 03283-LTS /          155140             Undetermined*
    MARGARITA                              Employees Retirement                                         MARGARITA                                Commonwealth of Puerto
    PO BOX 307                             System of the Government                                     PO BOX 307                               Rico
    ENSENADA, PR 00647                     of the Commonwealth of                                       ENSENADA, PR 00647
                                           Puerto Rico
    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
107 VELAZQUEZ CANDELA,          05/11/18   17 BK 03566-LTS /            20728             Undetermined* VELAZQUEZ                    05/11/18    17 BK 03283-LTS /           22413             Undetermined*
    MADELINE                               Employees Retirement                                         CANDELARIO,                              Commonwealth of Puerto
    P.O. BOX 10007                         System of the Government                                     MADELINE                                 Rico
    SUITE 188                              of the Commonwealth of                                       PO BOX 10007 STE 188
    GUAYAMA, PR 00785                      Puerto Rico                                                  GUAYAMA, PR 00785

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 24 of 26
                                    Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 26 of 27

                                                                Three Hundred and Forty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Disallowed
                                     CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
108 VELEZ GONZALEZ,             05/24/18   17 BK 03566-LTS /            15953             Undetermined* VELEZ GONZALEZ,              05/24/18    17 BK 03283-LTS /          16605^             Undetermined*
    JAVIER                                 Employees Retirement                                         JAVIER                                   Commonwealth of Puerto
    PO BOX 13871                           System of the Government                                     PO BOX 13871                             Rico
    SAN JUAN, PR 00908-3871                of the Commonwealth of                                       SAN JUAN, PR 00908-3871
                                           Puerto Rico
    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
    ^ Claim #16605 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
109 VELEZ IRIZARRY,             06/29/18   17 BK 03566-LTS /           155054                $ 6,000.00* VELEZ IRIZARRY,             06/29/18    17 BK 03283-LTS /          100546                $ 6,000.00*
    MYRIAM I.                              Employees Retirement                                          MYRIAM IVETTE                           Commonwealth of Puerto
    E-7 CALLE 5                            System of the Government                                      E-7 CALLE 5 JARDINES                    Rico
    JARDINES ANASCO                        of the Commonwealth of                                        DE ANASCO
    ANASCO, PR 00610                       Puerto Rico                                                   ANASCO, PR 00610

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
110 VIZCARRONDO                 05/29/18   17 BK 03566-LTS /            41023               $ 28,754.25* VIZCARRONDO, NITZA          05/29/18    17 BK 03283-LTS /          41069^               $ 28,754.25*
    FERNANDEZ, NITZA                       Employees Retirement                                          CALLE 33 BLOQUE 2A #2                   Commonwealth of Puerto
    URB METROPOLIS                         System of the Government                                      URB. METROPOLIS                         Rico
    2A2 CALLE 33                           of the Commonwealth of                                        CAROLINA, PR 00987
    CAROLINA, PR 00987-                    Puerto Rico
    7429

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
    ^ Claim #41069 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
111 ZAYAS MEDINA, JAIME         05/29/18   17 BK 03566-LTS /            40722             Undetermined* ZAYAS, JAIME                 05/29/18    17 BK 03283-LTS /          45339^             Undetermined*
    G                                      Employees Retirement                                         PLAYA 46 CALLE                           Commonwealth of Puerto
    PLAYA                                  System of the Government                                     RAMON R VELEZ SECT                       Rico
    46 CRAMON R VELEZ                      of the Commonwealth of                                       PLAYITA
    PONCE, PR 00716                        Puerto Rico                                                  PONCE, PR 00731

    Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
    Commonwealth of Puerto Rico.
    ^ Claim #45339 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 25 of 26
                                   Case:17-03283-LTS Doc#:17105-1 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                             Exhibit A Page 27 of 27

                                                               Three Hundred and Forty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Disallowed
                                    CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                               DATE          CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT                 NAME                FILED            DEBTOR               CLAIM #     CLAIM AMOUNT
112 ZAYAS RIVERA, ADRIA        06/08/18   17 BK 03566-LTS /            78725                $ 47,886.54 ZAYAS RIVERA, ADRIA         06/08/18    17 BK 03283-LTS /          83540^                $ 47,886.54
    Y.                                    Employees Retirement                                          Y                                       Commonwealth of Puerto
    HC-3                                  System of the Government                                      HC-3 BOX 20024                          Rico
    BOX 20024                             of the Commonwealth of                                        LAJAS, PR 00667
    LAJAS, PR 00667                       Puerto Rico

   Reason: Duplicate liability filed against Debtor Employees Retirement System of the Government of the Commonwealth of Puerto Rico. All asserted liabilities, if any would be between the Claimant and the
   Commonwealth of Puerto Rico.
   ^ Claim #83540 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 26 of 26
